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APPENDIX IV
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To. Or. Richard Nilsen

From: Bertha Soahr
Jennifer Miller
Robert Linker
Robert Hshhach
Leslie Prall
Brian Baha
David Taylor
Vickie Davis

Date: January 6, 2005
Re. Reading Statement on Intelligent Design

We have individually reviewed the statement you presented yesterday for presentation te
our students at the begining of the Biclogy unit dealing with evolution, You have
indicated that students may “opt-cut” of this portion of the class and that they will be
excused aod monitored by an administrator, We respectfully exercise our right to “opt-
out” of the statement portion of the class. We wali relinquish the classroom to an
administrator and we will monitor our own students. This request is based upon our
considered opinion that reading the statement violates our responsibilities as professional
educators a8 set forth in the Code of Professional Practice and Conduct for Educators
promulgated by the Professional Standards and Practices Commission and found at 22
Pa. Code section 235.) et.seq. As noted in the introductory paragraph of the Code,
section 235.2 (a). “Generally, the responsibility for professional conduct rests with the.
individual professional educator.” Further, the Code provides tm section 235.2 (b): “This
chapter makes explicit the values of the education profession, When individuals become
educators in this Commonwealth, they make a moral conumitment to uphold these
values.”

Central to the teaching act and our ethical obligation is the solemm responsibility to teach
the truth. Section 235,10 (2) guides our relationships with students and provides that
“The professional educator may not Knowingly and intentionally misrepresent subject
matter or curriculum.”

INTELLIGENT DESIGN [S NOT SCIENCE, INTELLIGENT DESIGN IS NOT

BiOLOGY. INTELLIGENT DESIGN LS NOT AN ACCEPTED SCIENTIFIC
THEORY.

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I believe that if T as the classroom teacher read the required statement, my studenis will
inevitably (coud understandably) believe that Intelligent Design is a valid scientific
theory, perhaps on par with the theory of evolution. That is not tue. To refer the
students to “Of Pandas and People” as if it is 2 scientific resource breaches my ethical
obHgation to provide them with scientific knowledge that is sapported by recoymmed
scientific proof ar theory,

Reading the statement places us in violation of the following ethical obligations: Section
215.3 of the Code requires Professional educators to develop “sound educational policy”
and obligates us “to implement that policy.” Section 234.3 (b) makes il explicit that
“Professional educators recognize their primary responsibility to the student and the
development of the student’s potential. Central to that development is the professional
educator's valuing the pursuit of truth, devotion to excellence; acquistion of lnowledge,
and democratic principles.” The same section goes on ta provide: “Educators encourage
and support the use of resources that best serve the interests and needs of students.
Within the context of professional excellence, the educator and student together explore
the challenge and the dignity of the human experience.” Section 235.4 (b) (2) provides:
“Professional educators shall be prepared, and legally certified, in their areas of
assignment. Educators may not be assigned or willingly accept assignments they are not
certified to fulfill.” Section 235.4{h) (8} provides: “Professional educators shall be open-
minded, knowledgeable and use appropriate judgment and communication skills when
responditie to an issue within the educational environment.” Section 235.4 (b) (19>
provides: “Professional educators shall exert reasonable effort to protect the student from
conditions which interfere with learning or are harmful to the student's health and
safety.”

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